Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 1 of 23




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:

  MARCIA MCMANUS,

         Plaintiff,

  v.

  AMERIJET INTERNATIONAL, INC.,

        Defendant.
  ____________________________________ /

                                           COMPLAINT

         Plaintiff,   MARCIA        MCMANUS,         hereby     sues    Defendant,     AMERIJET

  INTERNATIONAL, INC., a Florida corporation, and avers:

                             PARTIES, JURISDICTION & VENUE

         1.      This is an action for damages by Plaintiff against Defendant for employment

  discrimination and retaliation arising under the Age Discrimination in Employment Act of 1967,

  29 U.S.C. § 621-634 et seq. (the “ADEA”), Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

  2000e et seq. (1964) (“Title VII”), the Family and Medical Leave Act, 29 U.S.C. 2601 et seq.

  (1993) (the “FMLA”), the Florida Civil Rights Act, Fla. Stat. § 760.01 et seq. (the “FCRA”), and

  the Florida Whistleblower Act, Fla. Stat. 448.102 (the “FWA”).

         2.      Plaintiff, Marcia McManus (“McManus” or “Plaintiff”) is an individual over the

  age of forty (40), who at all material times has been residing in Broward County, Florida.

         3.      At all material times, Plaintiff was employed by Defendant in Broward County,

  Florida.

         4.      This Court has personal jurisdiction over the Defendant, Amerijet International,
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 2 of 23




  Inc. (“Amerijet” or “Defendant”) because it engages in continuous and systematic business

  contacts within the State of Florida and maintains a substantial physical presence in the State of

  Florida, including the operation of its corporate headquarters in Miami-Dade County, Florida, and

  offices in Broward County, Florida.

         5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 28

  U.S.C. § 1343(4), under Title VII, and under the FMLA, as this is an action brought under the

  ADEA, Title VII, and the FMLA.

         6.      The Court has supplemental jurisdiction over Plaintiff’s claims under the FCRA

  and FWA, as these claims arise out of the same operative facts as Plaintiff’s ADEA, Title VII and

  FMLA claims, and together, form part of the same case or controversy.

         7.      Venue is proper in the Southern District of Florida, in this division, because a

  substantial part of the events (including discriminatory practices) giving rise to Plaintiff’s claims

  occurred within this District and Division.

         8.      Venue is also proper in this District because the Defendant is subject to personal

  jurisdiction therein by virtue of their substantial, continuous, and systematic commercial activities

  in this District. See 28 U.S.C. § 1391(b), (c). Because the Defendant is subject to personal

  jurisdiction in this Division, it “resides” in this Division for venue purposes. See 28 U.S.C. §

  1391(c)).

         9.      All conditions precedent to the filing of this lawsuit have occurred, have been

  waived or have been performed, including but not limited to Plaintiff exhausting her administrative

  remedies by complying with the statutory prerequisites of filing a timely charge of discrimination

  against the Defendant with the United States Equal Employment Opportunity Commission

  (“EEOC”) on June 25, 2020.




                                                   2
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 3 of 23




         10.     The EEOC issued its Notice of Right to Sue to Plaintiff on May 13, 2021.

                                   GENERAL ALLEGATIONS

         11.     McManus is a black female of Indian national origin and over the age of forty (40).

         12.     McManus was an employee of Defendant for nearly twenty-three (23) years until

  she was suddenly and wrongfully terminated by Defendant on December 18, 2019, because of and

  on the basis of her age, sex, color and race, and in retaliation for making complaints of a hostile

  work environment, reporting illegal activities to Defendant’s management, and based on her

  requests for leave under the FMLA to care for her ill mother.

         13.     On September 8, 2019, McManus sent an email to Defendant’s Human Resources

  Department advising them that she was written up four (4) times in two weeks without justification.

         14.     McManus never received a negative write-up from Defendant in the previous

  twenty-two (22) years under various leadership teams.

         15.     McManus had always received excellent reviews from the Defendant during her

  performance evaluations.

         16.     In fact, just 19 days before her termination, McManus’ supervisor sent her a text

  message stating, “I know praise is in short supply here at times, but I am thankful for what you

  do.”

         17.     The write-ups began the day before McManus requested a meeting and was

  scheduled to meet with the Defendant’s CEO to discuss low morale in the crew scheduling

  department, specifically how the COO, Brian Beach was hostile, passive aggressive, and harassing

  to me and other managers in the workplace.

         18.     This was one of many complaints made by McManus to the Defendant about the

  unfair treatment, bullying, and unpleasant interactions with my supervisors.




                                                  3
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 4 of 23




         19.     McManus’ complaints were never properly investigated by the Defendant in

  violation of their own procedures.

         20.     Instead of properly investigating McManus’ Complaints, the Defendant, through

  its attorney, provided a termination verification email to McManus clearly stating, “your

  employment in that position was terminated based on a decision to make a change in the position.”

         21.     Defendant falsely advised McManus that the reason for her termination was

  because they wanted to make a change in her position.

         22.     Following her termination, McManus learned that the Defendants’ COO, Brian

  Beach wanted a black woman, Sheila Guillaume from another department to replace McManus so

  that Defendant could avoid a claim of discrimination.

         23.     Ms. Guillaume was assigned to take over some of McManus’ job duties until a

  permanent replacement was found.

         24.     Defendant eventually hired a younger white male to fill McManus’ position.

                    Defendant’s Hostile & Discriminatory Work Environment

         25.     McManus consistently complained to Defendant about her unfair treatment,

  bullying, and unpleasant interactions with her supervisors.

         26.     When McManus went to the HR department and her managers, McManus’

  complaints were never properly investigated by the Company in violation of their own procedures.

         27.     In January 2019, when McManus returned from her Christmas vacation, there was

  an elf hanging from a string from her office ceiling, similar to a lynching.

         28.     McManus was advised by the Defendant’s Director of Operations, Steven Mathis,

  that this was done by him as a joke.

         29.     McManus perceived this as being racist but did not speak up or report to HR that




                                                   4
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 5 of 23




  she was offended because of her fear of being retaliated against and losing her job.

            30.    This was not the first time Mr. Mathis referenced a hanging in McManus’ office.

            31.    There were two (2) strings hanging from the ceiling in McManus’ office because

  the previous employee in the office had an airplane hanging from the ceiling and never removed

  the string.

            32.    One day, Mr. Mathis entered McManus’ office and she complained of the stress

  she had from additional reports, deadlines, and the short staff for Crew Scheduling.

            33.    Steven Mathis looked up at the 2 strings and said to her, “you could hang yourself.”

            34.    In April 2019, Ms. McManus reported another incident to Defendant’s Human

  Resources regarding Steven Mathis.

            35.    Mr. Mathis brought a white male employee who was not a Manager into McManus’

  office.

            36.    Mr. Mathis was demeaning after the employee asked McManus if she could do a

  favor for him.

            37.    Mr. Mathis responded by saying that the other employee should not ask her for a

  favor but tell McManus what to do and what needs to be done.

            38.    The white male employee responded by stating that he was trying to be diplomatic.

            39.    In fact, the white male employee later apologized to McManus for the way Mr.

  Mathis spoke to her during the incident.

            40.    Mr. Mathis apologized after the incident was reported to Defendant’s Human

  Resources Department.

            41.    However, this began a pattern of retaliation by the Defendant against McManus

  which included various write ups, unpleasant interactions, and hostility.




                                                    5
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 6 of 23




         42.     Following the incident with Mr. Mathis, the Defendant’s COO, Mr. Beach sent an

  email to McManus and others stating there was a “red dot on their foreheads” which was both

  racist because Ms. McManus is a black female with Indian descent and threatening referring to a

  gun pointed at her forehead.

         43.     The threat of losing her job was made by Mr. Beach because McManus’ department

  could not account for a $300,000 excess in the budget report.

         44.     After researching the budget issue, McManus sent an email to Mr. Beach explaining

  that two (2) months’ accruals were placed in one month’s budget report by the Accounting

  Department in error. Accounting agreed to fix the error promptly.

         45.     Instead of Mr. Beach praising McManus’ efforts in finding and having Accounting

  correct the $300,000 mistake, he completely disregarded the email she sent that identified the error.

         46.     McManus continued working in fear with the daily “red dot” target on her forehead,

  something she brought to the attention of Defendant’s Human Resources Department in email

  correspondence, without it being addressed.

         47.     During McManus’ employment, Defendant allowed a hostile work environment

  filled with use of foul language, harassment and discrimination against females and non-white

  employees, and consistently ignored complaints made by McManus of such mistreatment.

         48.     A few months after McManus’ termination, on April 17, 2020, the Defendant found

  it necessary to distribute a memo reminding employees of the policy for Respectful and

  Professional Conduct.

         49.     Despite this memo, the Defendant’s executives and managers acted unprofessional,

  and complaints were not addressed as stated in the memo.

         50.     As stated in the memo regarding Respectful and Professional Conduct, Amerijet




                                                   6
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 7 of 23




  claims they have a zero-tolerance policy for all employees of the company if not followed.

         51.     This includes the use of discriminating language and intimidation which can lead

  up to termination.

         52.     Yet Defendant’s COO, Brian Beach authorized a hostile work environment to exist

  and ignored the Defendant’s memo, which also included a policy of refraining from using

  profanity.

         53.     Defendant’s COO, Mr. Beach used profanity in emails, threatened employees, and

  made racist remarks to employees.

         54.     Defendant gave no consequence to Mr. Beach after McManus reported him to the

  Human Resources Department and the CEO.

         55.     Defendant is liable for the racist and sexist remarks and actions of their

  Management team including the COO, Brian Beach.

         56.     Defendants Director of Operations, Mr. Mathis also made other sexist and racist

  remarks and was never disciplined by the Defendant.

         57.     Mr. Mathis referred to a female Iranian employee as “very hot” and that he would

  “leave her to” Captain Nader Daily and Alex Tabrizi, Amerijet male pilots from Iran, who shared

  the same race, color, and ethnicity as the female employee.

         58.     Additionally, Mark Bostic, a black male, applied for Defendant’s Crew Scheduler

  position in 2019, for which he was qualified.

         59.     McManus emailed Defendant’s Human Resources Department and the Defendant’s

  Chief Pilot recommending Mr. Bostic for the position and explaining how he was more qualified

  than a white female candidate the Defendant was considering for the position.

         60.     Defendant’s Chief Pilot said Mr. Bostic was not hired because he had difficulties




                                                  7
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 8 of 23




  connecting to the Zoom meeting for the interview for the position.

         61.     McManus reminded the Defendant that connecting to Zoom was not part of the

  interview process, and that the interviewers all liked Mr. Bostic during the interview.

         62.     McManus reminded Defendant’s Chief Pilot that they both had issues with logging

  into Zoom which was the reason McManus, and the Chief Pilot went to the Human Resource’s

  conference room to join the Zoom session.

         63.     The white female candidate had been a Crew Scheduler before but had a history of

  changing jobs every few months.

         64.     The Company overlooked Mr. Bostic, the more qualified candidate, because he was

  black, in favor of a white female.

         65.     McManus’ consistent complaints of harassment and discrimination resulted in the

  Defendant retaliating against her by terminating her from her position with the Defendant.

                       McManus Experienced Intentional Disparate Treatment

         66.     Throughout McManus’ employment with Defendant, Defendant showed a pattern

  of discriminatory behavior and disparate treatment.

         67.     As a black female Manager with mixed Indian descent and over the age of forty

  (40), McManus felt compelled by the company to work twice as hard as other white Managers in

  similar positions.

         68.     The Company almost doubled in size over the final few years of McManus’

  employment, and as a result McManus’ workload continued to increase.

         69.     McManus repeatedly asked her supervisor and executives for additional help as

  McManus was required to work as both the day and night Manager responsible for her department

  24 hours per day, 7 days per week.




                                                   8
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 9 of 23




         70.     McManus’ requests to Defendant included requests to increase staffing within her

  department.

         71.     In 2017, McManus advised Defendant’s Director of Operations, Steven Mathis that

  she was doing the job of six (6) additional people and that she needed additional help and a pay

  raise to the appropriate market value for someone in her position with her experience. McManus

  was denied help and denied a pay raise.

         72.     The Defendant’s dispatch department had similar responsibilities requiring 24

  hours per day operation, yet the Defendant employed two white Managers for the dispatch

  department who were assigned to share the workload.

         73.     McManus’ repeated requests for additional help were ignored and refused by the

  Defendant’s COO, Mr. Beach.

         74.     McManus requested help several times over several months both verbally and in

  emails, and the requests went ignored.

         75.     Defendant’s COO, Mr. Beach began to exclude McManus from training and Crew

  Scheduling meetings despite her being the sole manager of the department.

         76.     Ms. McManus notified Mr. Beach of her exclusion from these meetings and

  requested that she be included. These requests went ignored.

         77.     McManus continued to make requests to Mr. Beach to “reset” the Crew Scheduling

  department and made attempts to address issues with payroll and training.

         78.     Ms. McManus was ignored by executives and treated unfairly in comparison to

  white females and other white male executives.

         79.     After her termination, McManus’ job duties- crew scheduling, payroll, roster and

  projects, and pilot cash out, amongst other duties, were split between six (6) employees.




                                                   9
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 10 of 23




         80.     After McManus was terminated, Amerijet doubled the Crew Scheduling team from

  eight (8) to sixteen (16) employees with six (6) positions dedicated to payroll, rostering, and crew

  hotel, and two (2) additional crew schedulers.

         81.     McManus also complained to Defendant’s management about the deficiencies in

  their Geneva software used for payroll.

         82.     After McManus’ termination in 2019, Defendant finally took the Geneva software

  deficiencies seriously, and started the process of employee training to change the Geneva outdated

  software to Aims software.

         83.     The Aims software is better for reports and pilot payroll and will correct the Geneva

  system deficiencies as reported by McManus.

         84.     Defendant employed a pattern of writing up female managers for being late to

  meetings, while forgiving white male employees for the same lateness.

         85.     McManus received a write up for being five (5) minutes late to a meeting, and at

  the same time received three (3) other frivolous write ups which she disputed.

         86.     Defendant could have combined the three (3) occurrences but by separating the

  write-ups, Defendant attempted to magnify the number of write ups received by McManus to

  justify her termination.

         87.     McManus addressed these write ups with Amerijet’s CEO during a brief one-hour

  meeting and the CEO was not interested in discussing the write-ups or their frivolous nature.

         88.     Brian Beach, the COO of Amerijet and a white male was thirty (30) minutes late to

  a Union discussion meeting.

         89.     Mr. Beach apologized for being late because he claimed he forgot about the

  meeting.




                                                   10
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 11 of 23




         90.     Mr. Beach never received a write up from Defendant for being late, yet McManus

  was written up for being merely five (5) minutes late to a meeting.

         91.     Mr. Gonzales, Defendant’s Chief Pilot was late to meetings on October 8, 2019,

  and October 11, 2019, yet he never received a write up.

         92.     When McManus discussed her lateness with the Defendant’s CEO, he said

  everyone was expected to be on time regardless of if you were an Executive.

         93.     Defendant wrote up two female Mangers, including McManus for being late at a

  separate meeting in Flight Operations.

         94.     Ms. Alizo, a Training Manager, and white female was written up to give the false

  impression that Defendant was not bias against McManus.

         95.     However, Ms. Alizo was never written up for more serious complaints McManus

  made about Ms. Alizo to defendant for Ms. Alizo failing to provide timely training information to

  process rosters for pilot contract deadlines.

         96.     Ms. Alizo being a white female Manager and Mr. Beach’s favorite Manger was

  allowed to give reasons or excuses to delay the information needed by Crew Scheduling each

  month and her excuses were accepted by the COO, Mr. Beach, Director of Operations, Mr. Mathis,

  and the Chief Pilot, Mr. Gonzalez.

         97.     When Ms. McManus, a Black/Indian female Manager gave an explanation about

  any report delays it was never accepted regardless of whether she was short staffed, reports had to

  be done manually, or she was helping in Crew Scheduling because someone was out sick.

         98.     As Black/Indian female Manager, McManus was not afforded the same privileges

  as the white male & white female Mangers.

         99.     McManus received a write up because she did not come to work on September 3,




                                                  11
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 12 of 23




  2019, the same day a hurricane warning was lifted in South Florida, and when she believed she

  was given permission by Defendant’s Director of Operations, Steven Mathis to use paid time off.

         100.    Mr. Mathis approved McManus’ time off via email.

         101.    McManus was never credited for the extra time she put in from August 30, 2019 –

  September 3, 2019, due to the hurricane warning at issue.

         102.    McManus worked extra hours in the office and away from the office on her laptop

  helping Defendant’s Crew Scheduling to get the airplanes out of Miami and back during the

  hurricane warning.

         103.    Defendant had a Skeleton pilot crew since the pilots wanted to stay in Miami with

  their families, and it was extremely difficult to crew the flights since they were not returning to

  Miami for several days.

         104.    McManus asked the Defendant to review her laptop history and company phone

  log to verify her work to no avail. McManus also asked to use her personal or vacation time to

  cover the day, and the Defendant refused, and she still received a write up.

         105.    During the same time another employee of the Defendant, a white male pilot, was

  on reserve duty and was scheduled to move an airplane before the hurricane hit Florida.

         106.    The pilot refused to perform the flight and did not show up to work.

         107.    Rather than receive a write up or any discipline, the pilot’s status was updated to

  unavailable by Defendant, which should have resulted in a six (6) hour pay deduction for the two

  (2) days he refused to fly.

         108.    Mr. Mathis, Defendant’s Director of Operations, removed the unavailable status for

  the pilot who was then credited for three (3) hours of pay, while being away from work.

         109.    There was no consequence from the Defendant to the white male pilot for his failure




                                                  12
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 13 of 23




  to show up at work.

                                Defendant’s Disparate Age Discrimination

         110.    After the Defendant was purchased in 2016, and new executives and managers were

  put in place, between 2017 and March 2021, a total of seventeen (17) Managers, Directors, and

  Vice Presidents, all over the age of forty (40), with an average of eighteen (18) years of service,

  were terminated or involuntary resigned.

         111.    The entire original Executive Team Management are no longer with Amerijet.

         112.    After the purchase in 2016, Amerijet wanted new management and executives and

  to reduce the cost of salary with younger employees with less experience compared to the average

  of eighteen (18) years of service pay by the older Management team.

         113.    Amerijet’s actions disproportionately affected employees over the age of 40.

         114.    The following chart shows all management employees who were terminated or

  involuntarily resigned between 2017 to March 2021, all of whom are over the age of 40.




                                                  13
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 14 of 23




           115.   Jose Campio, a Crew Scheduler, over the age 40 was discriminated against by

  Amerijet.

           116.   Mr. Campio is over 60 years old and originally worked in Dispatch for

  approximately 10 years.

           117.   Mr. Campio requested and received a transfer to Crew Scheduling and was there

  for approximately over 7 years.

           118.   In 2019, Mr. Campio applied by requesting a transfer to go back to Dispatch

  because Dispatchers were given a new pay scale higher than Crew Scheduling. There were a few

  positions open and advertised.

           119.   Mr. Campio’s request was not approved for the transfer for the open Dispatch

  position by Defendant, as advised to Mr. Campio by Human Resources Manager, Tiffany Powell.

           120.   Mr. Campio was qualified because he held the exact job for years prior and had

  great reviews from the Defendant.

           121.   Amerijet chose to hire new Dispatchers younger than Mr. Campio at a lower pay

  scale.

           122.   Amerijet discriminated against Mr. Campio because of his age over 40 and pay

  scale.

           123.   John Rupert, Amerijet’s former Training Manager, over the age of 40, was

  terminated by the COO, Brian Beach in 2018, and replaced by a younger unqualified female, Junel

  Alizo who was formerly the Training Specialist.

           124.   Mr. Rupert was a retired pilot, and the Training Manager position was typically

  held by someone with a pilot qualification to effectively communicate with the pilots.

           125.   In 2018, Mr. Beach and the Director of Operations, Mr. Mathis tried to promote




                                                 14
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 15 of 23




  Ms. Alizo from Training Specialist to Director of Training after Mr. Rupert’s termination, which

  included a $40k pay raise.

          126.    However, the position was only advertised as Manager of Training.

          127.    The company falsely advertised the position as Manager of Training to get less

  applicants to apply. A Director of Training advertisement would have attracted more qualified

  candidates to apply.

          128.    The FAA eventually refused to approve Ms. Alizo as Director of Training since she

  was not qualified.

          129.    As a result, Mr. Beach (who consistently referred to Ms. Alizo as “Princess”) told

  the Vice President of Safety, Mr. Richard Carpenter to rewrite the job description for the position

  of Training Manger to meet Ms. Alizo’s qualifications for approval with the FAA.

          130.    Mr. Carpenter complied, rewrote the Training Manager job description tailored to

  Ms. Alizo as directed by Mr. Beach.

          131.    The FAA then approved the Manager of Training title for Ms. Alizo, and she

  received a $20k pay raise from Defendant.

                                     McManus’ Request for FMLA Leave

          132.    Immediately before her termination, McManus spoke to her team members and

  supervisor about her mother’s serious medical illness and hospitalization.

          133.    McManus requested FMLA leave to be by her mother’s side during her mother’s

  illness and transition to death.

          134.    McManus’ request for FMLA was denied by the Company’s attorney and the Vice

  President of Human Resources.

          135.    Instead, McManus was terminated from her position with the Company without




                                                  15
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 16 of 23




  warning, less than one (1) week before Christmas, with her mother in her final days in the hospital.

          136.    While attending to her dying mother, Defendant cut off McManus’ livelihood

  leaving her severely emotionally distressed, practically unable to find work during a holiday

  season, and to care her mother, who tragically passed away less than 2 weeks later.

          137.    McManus was retaliated against by Defendant when she was terminated from her

  employment with the Company based on her request for FMLA leave to care for her dying mother.

                      Retaliation for McManus’ Reports of Illegal & Safety Concerns

          138.    After one of their exclusive meetings, McManus was told of a new Pilot Training

  Procedure to save money and McManus objected to the Defendant due to safety concerns.

          139.    McManus was overruled and followed the order as directed by the Defendant.

          140.    This new procedure eventually led to McManus’ whistleblower complaint after one

  of her safety fears related to the new program materialized and compromised pilot safety.

          141.    Those complaints did not result in changes to this conduct but did result in

  McManus suddenly being “written up” for seemingly minor slights tolerated with Defendant’s

  other employees.

          142.    McManus’ complaints about safety violations and FAA compliance, which was

  part of her job, strongly influenced senior managers to terminate her.

          143.    McManus was also terminated for raising concerns with Defendant regarding FAA

  safety issues related to pilot fatigue.

          144.    The FAA regularly conducts audits and investigations if a company reports too

  many cases of pilot fatigue.

          145.    There were occasions when a pilot was out due to reports of fatigue, and McManus

  was asked by the Defendant’s Chief Pilot to change the reporting for that pilot from fatigue/sick




                                                  16
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 17 of 23




  day to a blank day.

         146.     McManus documented these changes by emailing the Defendant’s Chief Pilot that

  his request to make the change was done.

         147.     Eventually, the Defendant’s Chief Pilot requested that McManus remove the

  “fatigue” category altogether so that there was no reporting of pilot fatigue by Defendant.

         148.     McManus made the Defendant aware that she did not agree with these requests as

  they presented a serious safety issue and were obvious attempts to avoid FAA regulation.

         149.     Scott McGlynn, a white Manager reported Amerijet to the FAA for safety issues.

  Instead of terminating Mr. McGlynn for his whistleblowing, like the Defendant did to McManus,

  Defendant ordered Mr. McGlynn to work from home permanently.

         150.     Mr. McGlynn has no duties for the Defendant yet continues to get paid by the

  Defendant to sit home.

         151.     As of March 21, 2021, Mr. McGlynn is still on the Defendant’s payroll with full

  pay making over six figures.

         152.     Unlike Mr. McGlynn, McManus was terminated by the Defendant because of her

  objection to Defendant’s safety policies and violations of FAA regulations.

                                       COUNT I
              VIOLATION OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT
                                29 U.S.C. § 621 ET SEQ.

         153.     Plaintiff incorporates and re-alleges paragraphs 1 through 152 above as if fully set

  forth herein.

         154.     At all relevant times, Plaintiff was over 40 years of age, see 29 U.S.C. § 631(a).

         155.     At all relevant times, the Defendant has been, and continues to be, an employer

  within the meaning of the ADEA, 29 U.S.C. § 630.




                                                   17
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 18 of 23




         156.    At all relevant times, the Defendant has been engaged in interstate commerce within

  the meaning of the ADEA, and has employed, and continues to employ, fifteen or more employees.

         157.    According to 29 U.S.C. § 623(a), “It shall be unlawful for an employer (1) to fail

  or refuse to hire or to discharge any individual or otherwise discriminate against any individual

  with respect to his compensation, terms, conditions, or privileges of employment, because of such

  individual’s age; (2) to limit, segregate, or classify his employees in any way which would deprive

  or tend to deprive any individual of employment opportunities or otherwise adversely affect his

  status as an employee, because of such individual’s age.”

         158.    Defendant intentionally and directly discriminated against Plaintiff on the basis of

  her age in violation of the ADEA.

         159.    Defendant discharged Plaintiff from her employment with Defendant and because

  of her age, in violation of the ADEA.

         160.    Defendant classified employees in a way that deprived Plaintiff, and others

  similarly situated, of employment opportunities because of the employees’ ages, by replacing older

  employees with younger individuals, in violation of the ADEA.

         161.    As a proximate result of Defendant’s age discrimination, Plaintiff was terminated

  from her employment, deprived of the opportunity to earn wages, and deprived of the opportunity

  to earn employment benefits.

         WHEREFORE, Plaintiff, MARCIA MCMANUS demands judgment against Defendant,

  AMERIJET INTERNATIONAL, INC. for lost wages, back pay, front pay, employment benefits,

  and other compensation lost to her as a result of Defendant discriminating against her on the basis

  of her age, liquidated damages, wages, lost employment benefits, and other compensation lost to

  her as a result of Defendant discriminating against her on the basis of her age, reasonable attorney’s




                                                   18
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 19 of 23




  fees, expert witness fees, expenses, and costs of this action, and of prior administrative actions,

  prejudgment interest, and any such other relief that this Court deems just and appropriate.

                                           COUNT II
                  VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                               42 U.S.C. § 2000E ET SEQ. (1964)

         162.     Plaintiff incorporates and re-alleges paragraphs 1 through 152 above as if fully set

  forth herein.

         163.     At all relevant times, Plaintiff was a black female of Indian descent.

         164.     At all relevant times, the Defendant has been, and continues to be an employer

  within the meaning of Title VII.

         165.     Defendant intentionally and directly discriminated against Plaintiff on the basis of

  her race, color, sex, and national origin in violation of Title VII.

         166.     Defendant treated Plaintiff differently from other employees based upon and

  because of her race, color, sex, and national origin in violation of Title VII.

         167.     Defendant discharged Plaintiff from her employment with Defendant because of

  her race, color, sex, and national origin in violation of Title VII.

         168.     As a proximate result of Defendant’s discrimination, Plaintiff was terminated from

  her employment, deprived of the opportunity to earn wages, and deprived of the opportunity to

  earn employment benefits.

         WHEREFORE, Plaintiff, MARCIA MCMANUS demands judgment against Defendant,

  AMERIJET INTERNATIONAL, INC. for lost wages, back pay, front pay, employment benefits,

  and other compensation lost to her as a result of Defendant’s discrimination, liquidated damages,

  punitive damages, wages, lost employment benefits, and other compensation lost to her as a result

  of Defendant’s discrimination, reasonable attorney’s fees, expert witness fees, expenses, and costs




                                                    19
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 20 of 23




  of this action, and of prior administrative actions, prejudgment interest, and any such other relief

  that this Court deems just and appropriate.

                                         COUNT III
                       VIOLATION OF FLORIDA CIVIL RIGHTS ACT OF 1992
                                  FLA. STAT. 760.01 – 760.11

         169.     Plaintiff incorporates and re-alleges paragraphs 1 through 152 above as if fully set

  forth herein.

         170.     At all relevant times, Plaintiff was a black female of Indian descent over the age of

  forty (40) and is a person within the meaning of the FCRA, Fla. Stat. 760.02.

         171.     At all relevant times, the Defendant has been, and continues to be an employer

  within the meaning of the FCRA, Fla. Stat. 760.02.

         172.     At all relevant times, the Defendant employs 15 or more employees for each

  working day in each of 20 or more calendar weeks in the current or preceding calendar year.

         173.     According to Fla. Stat. 760.10(1), “It is an unlawful employment practice for an

  employer: (a) To discharge or to fail or refuse to hire any individual, or otherwise to discriminate

  against any individual with respect to compensation, terms, conditions, or privileges of

  employment, because of such individual’s race, color, religion, sex, pregnancy, national origin,

  age, handicap, or marital status; (b) To limit, segregate, or classify employees or applicants for

  employment in any way which would deprive or tend to deprive any individual of employment

  opportunities, or adversely affect any individual’s status as an employee, because of such

  individual’s race, color, religion, sex, pregnancy, national origin, age, handicap, or marital status.”

  Id. (emphasis added).

         174.     Defendant intentionally and directly discriminated against Plaintiff on the basis of

  her race, color, sex, national origin and age in violation of the FCRA.




                                                    20
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 21 of 23




         175.     Defendant discharged Plaintiff from her employment with Defendant and because

  of her race, color, sex, national origin, and age in violation of the FCRA.

         176.     As a proximate result of Defendant’s discrimination, Plaintiff was terminated from

  her employment, deprived of the opportunity to earn wages, and deprived of the opportunity to

  earn employment benefits.

         WHEREFORE, Plaintiff, MARCIA MCMANUS demands judgment against Defendant,

  AMERIJET INTERNATIONAL, INC. for lost wages, back pay, front pay, employment benefits,

  and other compensation lost to her as a result of Defendant discriminating against her, liquidated

  damages, punitive damages, wages, lost employment benefits, and other compensation lost to her

  as a result of Defendant discriminating against her, reasonable attorney’s fees, expert witness fees,

  expenses, and costs of this action, and of prior administrative actions, prejudgment interest, and

  any such other relief that this Court deems just and appropriate.

                                          COUNT IV
                    VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
                                29 U.S.C. 2601 ET SEQ. (1993)

         177.     Plaintiff incorporates and re-alleges paragraphs 1 through 152 above as if fully set

  forth herein.

         178.     At all relevant times, Plaintiff was a covered employee under the FMLA.

         179.     At all relevant times, the Defendant was a covered employer under the FMLA.

         180.     Prior to her termination, Plaintiff requested FMLA leave from her employment with

  Defendant to care for her immediate family member, her mother.

         181.     Defendant discriminated against Plaintiff and terminated Plaintiff from her

  employment with Defendant based upon her request for FMLA leave.

         182.     As a proximate result of Plaintiff’s request for FMLA leave, Plaintiff was




                                                   21
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 22 of 23




  terminated from her employment, deprived of the opportunity to earn wages, and deprived of the

  opportunity to earn employment benefits.

            WHEREFORE, Plaintiff, MARCIA MCMANUS demands judgment against Defendant,

  AMERIJET INTERNATIONAL, INC. for lost wages, back pay, front pay, employment benefits,

  and other compensation, liquidated damages, interest, wages, lost employment benefits, and other

  compensation lost to her, reasonable attorney’s fees, expert witness fees, expenses, and costs of

  this action, and of prior administrative actions, prejudgment interest, and any such other relief that

  this Court deems just and appropriate.

                                           COUNT V
                         VIOLATION OF FLORIDA’S WHISTLEBLOWER ACT
                                      FLA. STAT. §448.102

            183.   Plaintiff restates and realleges paragraphs 1 through 152 above as if fully set forth

  herein.

            184.   Plaintiff was an employee of Defendant as defined by Fla. Sta. §448.101

            185.   Defendant was employers and supervisors of Plaintiff as defined by Fla. Stat.

  §448.101.

            186.   Plaintiff reported to the Defendant, in writing, various activities, policies, and

  practices of the Defendant which were in violation of laws, rules and regulations.

            187.   Plaintiff threatened to disclose, to the appropriate governmental agencies activities,

  policies, and practices of the Defendant which were in violation of laws, rules, and regulations.

            188.   Plaintiff objected to, and refused to participate in, the activities, policies, and

  practices of the Defendant which were in violation of a laws, rules, and regulations.

            189.   Defendant had a reasonable opportunity to correct the activities, policies, or

  practices which were in violation of laws, rules and regulations as reported to them by Plaintiff.




                                                    22
Case 0:21-cv-61617-DPG Document 1 Entered on FLSD Docket 08/05/2021 Page 23 of 23




         190.    Defendant discharged Plaintiff from her employment with Defendants because of

  her reporting, threat to disclose, and objection to Defendant’s activities, policies, and practices

  which were in violation of a laws, rules, and regulations.

         191.    Defendant’s actions have damaged Plaintiff.

         192.    Plaintiff is entitled to lost wages, lost benefits, compensatory damages, and

  attorneys’ fees and costs because of Defendant’s retaliatory personnel action in terminating her

  from her employment.

         WHEREFORE, Plaintiff, MARCIA MCMANUS prays for judgment against the

  Defendant, AMERIJET INTERNATIONAL, INC. for her damages, including but not limited to

  lost wages, lost benefits, compensatory damages, pre-judgment interest, attorneys’ fees, and costs,

  together with such other relief this Court deems just and proper.

                                              JURY DEMAND

         193.    Plaintiff demands a trial by jury on all counts and issues eligible.

         Dated this 5th day of August 2021.

                                                        Respectfully submitted,

                                                        SKS LEGAL GROUP, PLLC
                                                        Counsel for Plaintiff, Marcia McManus
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                                                        By:    /s/ Robert C. Streit
                                                                Robert C. Streit
                                                                Florida Bar No. 70780




                                                   23
